Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 1 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 2 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 3 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 4 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 5 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 6 of 7
Case 1:16-cr-00053-SPW Document 119 Filed 02/06/17 Page 7 of 7
